




Dismissed and Memorandum Opinion filed January 24, 2008








Dismissed
and Memorandum Opinion filed January 24, 2008.

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-07-00921-CV

____________

&nbsp;

BEST PUBLICATIONS, L.L.P., Appellant

&nbsp;

V.

&nbsp;

RICK CALLOWAY A/K/A RICKY CALLOWAY
INDIVIDUALLY AND D/B/A RED C. POOL SERVICE, Appellee

&nbsp;



&nbsp;

On Appeal from County Court at Law
No. 2

Fort Bend County,
Texas

Trial Court Cause No.
29346

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp; O P I N I O N








This is
an appeal from a judgment signed June 28, 2007.&nbsp; The notice of appeal was filed
on September 26, 2007.&nbsp; To date, our records show that appellant has not paid
the $175.00 appellate filing fee.&nbsp; See Tex.
R. App. P. 5 (requiring payment of fees in civil cases unless indigent);Tex.
R. App. P. 20.1 (listing requirements for establishing indigence); see also Order Regarding Fees Charged in Civil Cases in the Supreme Court
and the Courts of Appeals and Before the Judicial Panel on Multidistrict
Litigation, Misc. Docket No. 07-9138 (Tex. Aug. 28, 2007) (listing fees in
court of appeals); Tex. Gov=t Code Ann. ' 51.207 (Vernon
2005) (same). 

After being given the requisite ten-days= notice that this
appeal was subject to dismissal, appellant has not paid the filing fee in accordance with our
order of December 20, 2007.&nbsp; See Tex.
R. App. P. 42.3.&nbsp; Accordingly, the appeal is ordered dismissed.&nbsp; See
Tex. R. App. P. 42.3(c) (allowing
involuntary dismissal of case because
appellant has failed to comply with notice from clerk requiring response or
other action within specified time).&nbsp; 

&nbsp;

PER CURIAM

&nbsp;

&nbsp;

Judgment rendered and Memorandum Opinion filed January
24, 2008.

Panel consists of Justices Fowler, Frost, and Seymore.

&nbsp;





